UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI FILED
EASTERN DIVISION ,

MAR 1 2 2001

U.S. DISTRICE COURT
EASTERN DISTRICT OF MO
ST. LOUIS

MICHAEL THOMAS GEORGE, et al.,
Plaintiffs,
No. 4:00CV1793-DJS

vs.

BOARD OF ELECTION COMMISSIONERS
FOR THE CITY OF ST. LOUIS,

Defendant.

PRELIMINARY INJUNCTION

Pursuant to the order entered herein this day,

IT IS HEREBY ORDERED that plaintiff shall execute and
file a bond with security approved by the Court, in the amount of
$10.00. Upon plaintiff's posting of the bond,

IT IS FURTHER ORDERED that defendant Board of Election
Commissioners for the City of St. Louis, its officers, agents,
servants, employees, attorneys, and all persons acting in concert
with them or in connection with shall, until further order of this
Court, hold and retain in a safe and secure place all voted
ballots, ballot cards, write-in forms, curb-side voter lists,
applications, statements, certificates, affidavits and computer
programs relating to the November 7, 2000 election (hereinafter
“the election”), as well as any reports or internal memoranda
generated for or by the Board concerning problems that occurred
during the election, all minutes from Board meetings wherein the

problems of the election are discussed, any investigative reports

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commissioned by the Board concerning the problems that occurred
during the election, all maintenance records for all voting
machines from August 1, 2000 until November 7, 2000, any tally
sheets received from voting precincts concerning the election, any
written, electronic, or computerized records relating to complaints
received regarding the election, including the complaints
themselves, and any phone message logs from November 1, 2000 until
November 30, 2000.

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Dated this ( day of March, 2001.

UNITED STATES\DISTRICT JUDGE

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INTERNAL RECORD KEEPING

AN ORDER, JUDGMENT OR ENDORSEMENT WAS SCANNED, FAXED AND/OR MAILED TO THE

FOLLOWING INDIVIDUALS ON 03/13/01 by dbraun
4:00cv1793 George vs St. Louis Brd Elect

42:1983 Civil Rights Act

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